Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8048 Filed 07/29/19 Page 1 of 14




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 WEBASTO THERMO & COMFORT
 NORTH AMERICA, INC. and
 WEBASTO-EDSCHA CABRIO USA, INC.,

               Plaintiffs/Counter-Defendants,        Case No. 16-cv-13456

                                                     Paul D. Borman
 v.                                                  United States District Judge

 BESTOP, INC.,                                       R. Steven Whalen
                                                     United States Magistrate Judge
           Defendant/Counter-Plaintiff.
 ___________________________________/

       OPINION AND ORDER (1) OVERRULING DEFENDANT’S OBJECTION
        (ECF NO. 219) AND AFFIRMING MAGISTRATE JUDGE WHALEN’S
            JUNE 10, 2019 OPINION AND ORDER (ECF NO. 214); AND
      (2) GRANTING PLAINTIFFS’ THIRD MOTION IN LIMINE TO EXCLUDE
          EVIDENCE OF ALLEGED PRIOR/SIMULTANEOUS INVENTION
                  OF THE ACCUSED PRODUCT (ECF NO. 217)

         This action involves Plaintiffs Webasto Thermo & Comfort North America, Inc.

 and Webasto-Edscha Cabrio USA, Inc.’s (collectively “Webasto”) claim that

 Defendant Bestop, Inc. (“BesTop”) infringes Webasto’s U.S. Patent No. 9,346,342

 (“the '342 Patent”), entitled “Vehicle Roof and Roof Opening Mechanism.” Webasto

 claims that BesTop’s Accused Product, the Sunrider for Hardtop (“the Sunrider”),

 infringes Webasto’s ‘342 patent as embodied in Webasto’s Black Forest ThrowBack

 top (“ThrowBack”). BesTop responded that the Sunrider does not infringe and that

                                           1
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8049 Filed 07/29/19 Page 2 of 14




 the claims of the '342 Patent are invalid. The Court has issued claim construction,

 summary judgment, and Daubert1 rulings and the Plaintiffs have filed in limine

 motions. Now before the Court are (1) Defendant’s Objection to Magistrate Judge

 Whalen’s June 10, 2019 Opinion and Order (ECF No. 219) and (2) Plaintiffs’ Third

 Motion In Limine to Exclude Evidence of Alleged Prior/Simultaneous Invention of

 the Accused Product (ECF No. 217). The matters have been fully briefed and the

 Court deems oral argument unnecessary. See E.D. Mich. L.R. 7.1(f)(2). For the

 reasons that follow, the Court AFFIRMS Magistrate Judge Whalen’s June 10, 2019

 Opinion and Order and GRANTS Plaintiffs’ Third Motion in Limine.

 I.       BACKGROUND

          The background facts of this litigation are set forth in multiple prior Orders of

 this Court and the reader’s knowledge of those facts is presumed. Particular facts, as

 specifically relevant to the issues in this motion, will be discussed where appropriate.

 II.      LEGAL STANDARDS

          A.    Motions In Limine

          “The Federal Rules of Evidence, the Federal Rules of Criminal and Civil

 Procedure and interpretive rulings of the Supreme Court and this court all encourage,

 and in some cases require, parties and the court to utilize extensive pretrial procedures


 1
      Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).
                                              2
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8050 Filed 07/29/19 Page 3 of 14




 – including motions in limine – in order to narrow the issues remaining for trial and

 to minimize disruptions at trial.” United States v. Brawner, 173 F.3d 966, 970 (6th

 Cir. 1999).    District courts have broad discretion over matters involving the

 admissibility of evidence at trial. United States v. Seago, 930 F.2d 482, 494 (6th Cir.

 1991).

       B.      Review of Magistrate Judge Orders

       28 U.S.C. § 636(b)(1)(A) and Federal Rule of Civil Procedure 72(a) both

 provide that a district judge must modify or set aside any portion of a magistrate

 judge’s non-dispositive pretrial order found to be “clearly erroneous or contrary to

 law.” 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a). The United States Supreme

 Court and the Sixth Circuit Court of Appeals have stated that “a finding is ‘clearly

 erroneous’ when although there is evidence to support it, the reviewing court on the

 entire evidence is left with the definite and firm conviction that a mistake has been

 committed.” United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948) (explaining

 the clearly erroneous standard under Rule 52(a)); Hagaman v. Comm'r of Internal

 Revenue, 958 F.2d 684, 690 (6th Cir. 1992) (quoting U.S. Gypsum Co.). See also

 United States v. Mandycz, 200 F.R.D. 353, 356 (E.D. Mich. 2001) (explaining the

 standard under Rule 72(a)).




                                           3
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8051 Filed 07/29/19 Page 4 of 14




       “This standard plainly does not entitle a reviewing court to reverse the finding

 of the [Magistrate Judge] simply because it is convinced that it would have decided

 the case differently.” Anderson v. City of Bessemer City, N.C., 470 U.S. 564, 573

 (1985) (interpreting the clearly erroneous standard in Rule 52(a)). The Sixth Circuit

 has noted that: “The question is not whether the finding is the best or only conclusion

 that can be drawn from the evidence, or whether it is the one which the reviewing

 court would draw. Rather, the test is whether there is evidence in the record to

 support the lower court’s finding, and whether its construction of that evidence is a

 reasonable one.” Heights Cmty. Cong. v. Hilltop Realty, Inc., 774 F.2d 135, 140 (6th

 Cir. 1985).

       “The ‘clearly erroneous’ standard applies only to the magistrate judge’s factual

 findings; his legal conclusions are reviewed under the plenary ‘contrary to law’

 standard. . . . Therefore, [the reviewing court] must exercise independent judgment

 with respect to the magistrate judge’s conclusions of law.” Haworth, Inc. v. Herman

 Miller, Inc., 162 F.R.D. 289, 291 (W.D. Mich.1995) (citing Gandee v. Glaser, 785 F.

 Supp. 684, 686 (S.D. Ohio 1992)). “‘An order is contrary to law when it fails to apply

 or misapplies relevant statutes, case law, or rules of procedure.’” Mattox v. Edelman,

 No. 12-13762, 2014 WL 4829583, at *2 (E.D. Mich. Sept. 29, 2014) (quoting Ford

 Motor Co. v. United States, No. 08–12960, 2009 WL 2922875, at *1 (E.D. Mich.


                                           4
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8052 Filed 07/29/19 Page 5 of 14




 Sept. 9, 2009)).

 III.   ANALYSIS

        On June 10, 2019, Magistrate Judge Whalen issued an Opinion and Order

 finding that BesTop’s two proffered “lay expert witnesses,” Mr. William Haberkamp

 and Mr. Eric Getzschman, did not qualify as percipient witnesses who could testify

 as to BesTop’s invalidity contentions. (ECF No. 214, 6/10/19 Opinion and Order 5,

 PgID 7652.) BesTop did not object to this aspect of Magistrate Judge Whalen’s

 Opinion and Order. Magistrate Judge Whalen also ruled that proposed testimony from

 both Haberkamp and Getzschman that the ‘342 patent was obvious “because BesTop

 created and conceived the Sunrider for Hardtop before Webasto filed any patent

 application on the patent in suit,” was irrelevant in this case because the filing of the

 ‘342 patent post-dated the effective date of the Leahy-Smith America Invents Act,

 Pub.L. No. 112–29, § 3, 125 Stat. 284, 285–294 (2011) (“AIA”), which abolished the

 first-to-invent system and adopted a first-to-file system. (6/10/19 Opinion and Order

 7, PgID 7654.) BesTop has objected to this portion of the Magistrate Judge Whalen’s

 Opinion and Order, and argues that evidence that BesTop invented the accused

 product before Webasto is still relevant to many issues in the case, including to

 Webasto’s claim that BesTop willfully infringed or copied the patented invention, and

 to several “objective” or “secondary” considerations of obviousness, such as whether


                                            5
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8053 Filed 07/29/19 Page 6 of 14




 there was a long felt but unsolved need for the invention, or a failure of others to

 create the invention, or independent creation of the invention by others. (ECF No.

 219, BesTop’s Objection 1, PgID 7719.)

          Webasto has also a filed a Third Motion In Limine directed to this same issue

 – seeking to preclude BesTop from presenting evidence or testimony regarding any

 alleged prior or simultaneous invention of the Accused Product as irrelevant to the

 issue of obviousness under Fed. R. Evid. 401 and unduly prejudicial under Fed. R.

 Evid. 403.2 (ECF No. 217, Pls.’ Third Motion In Limine.) BesTop responded to this

 motion in limine with the same arguments it made in objecting to the Magistrate

 Judge’s 6/10/19 Opinion and Order – that evidence of BesTop’s alleged prior or

 simultaneous invention of the Accused Product is relevant to several issues in the



 2
     Fed. R. Evid. 401 states:

          Evidence is relevant if:

                (a) it has any tendency to make a fact more or less probable
                than it would be without the evidence; and
                (b) the fact is of consequence in determining the action.

     Fed. R. Evid. 403 states:

          The Court may exclude relevant evidence if its probative value is
          substantially outweighed by a danger of one or more of the following:
          unfair prejudice, confusing the issues, misleading the jury, undue delay,
          wasting time, or needlessly presenting cumulative evidence.
                                             6
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8054 Filed 07/29/19 Page 7 of 14




 case, including as an objective or secondary factor in the obviousness analysis.

        Both BesTop’s Objection to the Magistrate Judge’s 6/10/19 Opinion and Order

 and Webasto’s Third Motion In Limine raise the same issue – whether evidence of

 BesTop’s alleged prior or simultaneous invention of the Accused Product is relevant

 to the issue of obviousness and admissible on that issue in this case. The Court finds

 that this evidence is not relevant under Rule 401 to the issues of obviousness that

 remain for trial in this case and that even were there some marginal indicia of

 relevance, the evidence would tend to confuse the jury and suggest a decision on an

 improper basis on the issue of invalidity and thus would be excludable under Rule

 403.

        The Court has little case law to guide it in resolving this issue of first-

 impression in this post-AIA case, but the following excerpt of AIA Legislative

 History provides a good starting point for the analysis:

        Every industrialized nation other than the United States uses a patent
        priority system commonly referred to as “first-to-file.” In a first-to-file
        system, when more than one application claiming the same invention is
        filed, the priority of a right to a patent is given to the earlier-filed
        application.

                     *                    *                   *

        The first-to-file system is used in every patent system, other than the
        United States, because it has the advantages of simplicity, efficiency and
        predictability. A first-to-file system avoids costly interference
        proceedings, provides better notice to the public, simplifies the prior art

                                              7
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8055 Filed 07/29/19 Page 8 of 14




       scheme that may preclude a patent from issuing, and provides more
       certainty to the patent system. In addition, a first-to-file system
       encourages the prompt filing of patent applications.

                     *                   *                   *

       [The AIA] eliminates costly, complex interference proceedings since
       priority fights–who invented first–are no longer relevant. However, the
       new USPTO derivation proceeding is created to ensure that the first
       person to file the application is also actually a true inventor; someone
       who has not invented something will not be able to file a patent for the
       invention. If a dispute arises as to which of two applicants is a true
       inventor (as opposed to who invented it first), it will be resolved through
       an administrative proceeding by the Patent Board.

 S. Rep. 110-259 (2008), 2008 WL 275437 (Leg. Hist.), at *6-9 (Jan. 24, 2008)

 (emphasis added).

       In Biogen Idec MA, Inc. v. Japanese Foundation for Cancer Research, 38 F.

 Supp. 3d 162 (D. Mass. 2014), the district court offered a similar summary of this

 important change under the AIA:

       On September 16, 2011, the AIA became law. It instituted a phased
       implementation of the Act's provisions, with most changes going into
       effect on September 16, 2012, or March 16, 2013 (that is, twelve or
       eighteen months after enactment).

       Interference proceedings have been abolished. Instead, under the new §
       135, the Director of the PTO may institute a derivation proceeding to
       determine whether the first-filing inventor derived (essentially,
       misappropriated) the claimed invention from a later-filing inventor. 35
       U.S.C. § 135(a), (b). Those proceedings are heard by the PTAB, which
       has replaced the BPAI. 35 U.S.C. § 6; see AIA § 3(j)(1). Applicants who
       are dissatisfied with the final decision of the PTAB in a derivation may
       seek review in the Federal Circuit, 35 U.S.C. § 141, or in the District

                                             8
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8056 Filed 07/29/19 Page 9 of 14




       Court for the Eastern District of Virginia, id. § 146.

 38 F. Supp. 3d at 163-64.

       It is clear that a pure dispute of priority of invention as between two inventors

 – that is to say “who did it first” – is no longer relevant under the AIA. There is a

 mechanism in place for resolution at the PTAB of a dispute between two inventors

 over who was the true inventor (i.e. whether the first-to-file misappropriated the

 invention from a later filing inventor – no such claim has been made in this case nor

 could such a claim be made in this Court under the provisions of the AIA). But

 disputes between two inventors over who invented first have no inherent relevance

 under the AIA.

       In the dispute currently before the Court, BesTop suggests that the issue the

 Court must address is whether evidence of simultaneous invention is categorically

 irrelevant under the AIA. But that is not the issue presented here. The issue that

 Magistrate Judge Whalen decided, and the issue that Webasto presents in its Third

 Motion In Limine, is a more narrow question – whether in this case evidence of

 BesTop’s alleged prior invention of the Accused Product is relevant and admissible

 as secondary or objective indicia of obviousness. It is not.3


 3
   On July 16, 2019, BesTop filed a “Notice of Supplemental Authority” directing the
 Court to a partial sentence from 35 U.S.C. § 282(c),and cursorily stating that “[t]his
 is relevant to whether Congress made evidence of prior conception and reduction to
                                           9
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8057 Filed 07/29/19 Page 10 of 14




        First and foremost, BesTop has offered no precedent that would suggest that its

  own accused product can serve as a singular example of simultaneous invention. In

  fact, BesTop’s own exhibit offered in support of its opposition to Webasto’s motion

  to exclude testimony of simultaneous invention indicates that a multiplicity of

  simultaneous effort is contemplated to support the relevance of simultaneous

  invention to the obviousness inquiry:

        Evidence that a number of other persons, working under the same state
        of the prior art, arrived at the same or similar solutions to that embodied
        in a patent claim has been relied upon in a number of decisions as
        tending to show that the claim solution was obvious.

  BesTop’s Resp. Ex. A, PgID 7727 (emphasis added). See also Callpod, Inc. v. GN

  Netcom, Inc., 703 F.3d 815, 832 (Fed. Cir. 2010) (“An invention may be inferred to

  be obvious if several inventors arrive at the same advancement simultaneously.”)

  (citing Echochem Inc. v. S. Cal. Edison Co., 227 F.3d 1361, 1379 (Fed. Cir. 2000));

  Regents of University of California v. Broad Institute, Inc, 903 F.3d 1286, 1296 (Fed.

  Cir. 2018) (considering evidence that six research groups independently succeeded in




  practice irrelevant under the American Invents Act.” (ECF No. 232, Notice of
  Supplemental Authority.) BesTop provides no discussion or analysis of how this
  excerpt bears on the issue before the Court – whether BesTop’s alleged prior invention
  of the Accused Product is relevant to the issue of obviousness that remains in this
  case. The Court will not speculate or hypothesize an argument for BesTop as to the
  relevance, if any, of this excerpt and no further submissions on this issue will be
  permitted.
                                            10
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8058 Filed 07/29/19 Page 11 of 14




  applying certain technology was evidence of a motivation to combine). This is not to

  say that multiple instances of simultaneous invention are required in every case but

  it is to say that something other than the accused product is certainly contemplated.

  BesTop makes an argument that it should be permitted to present evidence of

  “simultaneous invention,” but in fact what it seeks to present is simply evidence of the

  priority of its own invention – and to suggest that therefore it must win.

        In these circumstances, where the only asserted relevance of BesTop’s alleged

  prior invention of the Accused Product is to the secondary or objective factors of

  obviousness, the proposed evidence is of no consequence in determining the issues

  that remain. Inherent in the first-to-file system is the notion, as expressly recognized

  in the above-cited legislative history, that any dispute over which of two inventors,

  who may be simultaneously working toward the same invention, “did it first” is no

  longer generally relevant. The AIA allows for a challenge to an alleged “fraudulent”

  inventor through a derivation proceeding (to resolve a dispute as to which of two

  applicants is a true inventor as opposed to who invented it first), as discussed supra.

  But short of that, priority of invention as between two inventors can no longer be

  given any importance, at least not here where the only alleged relevance of such

  evidence is to secondary factors of obviousness.

        BesTop tries to steer the Court toward resolving the much broader issue of


                                            11
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8059 Filed 07/29/19 Page 12 of 14




  whether evidence of simultaneous invention might still be relevant in some degree

  under the AIA. But that is not the question that the Court must decide. Here we have

  an undisputed loser in the race to file under a first-to-file system that is seeking to

  present evidence under the guise of obviousness that may (or may not – we need not

  decide) have been relevant to a different issue in a now-precluded claim of prior

  invention and public use. The Court does not purport to decide whether evidence of

  simultaneous invention (as that concept has been classically defined and applied) can

  still be relevant in the post-AIA world. This Court can only say that in this case, on

  the obviousness issue that remains for trial, BesTop’s evidence that it “did it first” is

  not relevant to the issue of the validity of the ‘342 Patent.

        BesTop concedes that its now-precluded argument, i.e. that its alleged prior

  invention and public use of the Sunrider is prior art that invalidates the ‘342 patent,

  is no longer viable in this case. Indeed, BesTop acknowledged in its Response to

  Plaintiffs’ Third Motion In Limine that “[i]n light of the Court’s decisions precluding

  BesTop from asserting its public use defense, BesTop will not argue at trial that the

  public use of its Sunrider for Hardtop constitutes prior art under 35 U.S.C. §

  102(a)(1).” (ECF No. 222, Def.’s Resp. 9, PgID 7774.) And BesTop’s alleged prior

  invention of the Accused Product has no relevance post-AIA to its remaining

  obviousness defense, as discussed supra. Even were the Court to find such evidence


                                             12
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8060 Filed 07/29/19 Page 13 of 14




  marginally relevant to secondary considerations of obviousness, allowing BesTop to

  present to the jury testimony and evidence of priority of invention will suggest to the

  jury an improper basis for reaching a conclusion on invalidity – i.e. that because

  BesTop did it first, BesTop should win. “With respect to ‘unfair prejudice,’

  ‘confusing the issues,’ and other factors, see [Rule 403] this court has noted that the

  exclusion of evidence may be appropriate when the evidence suggests to the jury that

  it should decide the case ‘on an improper basis.’” Journey Acquisition-II, L.P. v. EQT

  Production Co., 830 F.3d 444, 459 (6th Cir. 2016) (quoting United States v. Poulsen,

  655 F.3d 492, 509 (6th Cir. 2011)). Even with an appropriate instruction from the

  Court, this evidence is so suggestive of a decision on an improper legal basis on the

  facts of this case that it must be excluded.

        BesTop’s goal is clear – it wants to make the very same argument that it has

  been precluded from making, entirely as a result of its own litigation conduct, by

  previous rulings of this Court. BesTop wants to suggest to the jury what has been its

  repeated refrain in this case: “We did it first so we win.” In this post-AIA case, this

  evidence is not relevant under Fed. R. Evid. 401 to the issue of obviousness and, if

  even marginally relevant, would be substantially more prejudicial than probative

  under Fed. R. Evid. 403 if presented to the jury.




                                            13
Case 2:16-cv-13456-PDB-RSW ECF No. 237, PageID.8061 Filed 07/29/19 Page 14 of 14




  IV.   CONCLUSION

        The Court concludes that Magistrate Judge Whalen did not clearly err in

  concluding that the proposed testimony of Messrs. Haberkamp and Getzschman “that

  the ‘342 patent was obvious at the time of filing the patent application because Bestop

  created and conceived the Sunrider for Hardtop before Webasto filed any patent

  application on the patent in suit,” was irrelevant. (Opinion and Order 7, PgID 7654.)

  Accordingly, BesTop’s Objection to the Magistrate Judge’s 6/10/2019 Opinion and

  Order is OVERRULED and Magistrate Judge Whalen’s ruling is AFFIRMED.

        The Court further GRANTS Webasto’s Third Motion In Limine and precludes

  BesTop from presenting evidence or testimony at trial of BesTop’s alleged

  prior/simultaneous invention of the Accused Product as secondary or objective

  evidence of obviousness.

  IT IS SO ORDERED.




                                          s/Paul D. Borman
                                          PAUL D. BORMAN
                                          UNITED STATES DISTRICT JUDGE

  Dated: July 29, 2019




                                            14
